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FOR THE wEsTERN DISTRICT oF TENNESSEE 05{_;{-:;;_3 1
wEsTERN DivIsIoN 55 viz ,; d
,3;:`5“*‘\ '-':>
.D. cr m :,L,,W}’é

UNITED STATES OF AMERICA

Plaintiff,

Criminal No.az[-£AQ$L%‘RMl

va

(60-Day Continuance)

 

 

 

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Defendant(s).

 

CONSENT ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF TIME

 

As indicated by the signatures helow, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should
be continued for reasons resulting in the exclusion of time under
the Speedy Trial Act. The case is currently set on the May 2005,
criminal rotation calendar, but is now RESET for report at QiQQ
a.m. on Fridav, June 24, 2005, With trial to take place on the
July, 2005, rotation calendar with the time excluded under the
Speedy Trial Act through July 15, 2005. Agreed in open court at

report date this 22nd day of April, 2005.

Thl's document entered on the docket Sheet ln cony|iance s
with Rule 56 and/or 32{13) FRCrp On Lf ~ , 5 if 2

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SO ORDERED this 22nd day of April, 2005.

wm

JON PHIPPS MCCALLA
UN TED STATES DISTRIC'I` JUDGE

 

 

Assistant United States Aftorney

 

 

 

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UNITED sTATE DRISTIC COURT - WETERN D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 62 in
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US DISTRICT COURT

